 Case 2:15-cv-00256-JAW Document 7 Filed 01/11/16 Page 1 of 1                      PageID #: 35



                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

BENNIE JONES,                  )
                               )
     Plaintiff,                )
                               )
     v.                        )                             Docket No.: 2:15-cv-0256-JAW
                               )
FAIRPOINT COMMUNICATIONS, INC. )
                               )
     Defendant.                )


                               STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby agree to dismissal of the

above action with prejudice and without attorneys' fees or costs of suit.



DATED: 1/11/16                                FOR PLAINTIFF BENNIE JONES

                                              /s/ James A. Clifford
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DATED: 1/11/16                                FOR DEFENDANT FAIRPOINT
                                              COMMUNICATIONS, INC

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